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                             United States District Court
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

  CRAIG CUNNINGHAM,                                 §
                                                    §
         Plaintiff,                                 §
                                                    §
  v.                                                §
                                                    §     Civil Action No. 4:20-cv-724-ALM-KPJ
  BIG THINK CAPITAL, INC. et al.,                   §
                                                    §
         Defendants.                                §

                                      ORDER OF DISMISSAL

         Pending before the Court is Plaintiff Craig Cunningham’s (“Plaintiff”) Notice of Non-Suit

 Without Prejudice Against All Defendants (Dkt. #26), wherein Plaintiff seeks to dismiss his claims

 against all Defendants without prejudice.

         Federal Rule of Civil Procedure 41(a)(1) provides that a plaintiff may voluntarily dismiss

 an action without court order in one of two ways: (1) a plaintiff may dismiss an action under Rule

 41(a)(1)(A)(i) by filing “a notice of dismissal before the opposing party serves either an answer or

 a motion for summary judgment.” FED. R. CIV. P. 41(a)(1); or (2) a plaintiff may dismiss an action

 under Rule 41(a)(1)(A)(ii) by filing “a stipulation of dismissal signed by all parties who have

 appeared.” Id. As such, formal court action is not necessary in this case. However, the Court finds

 that in the interest of efficiency, justice, and maintaining the clarity of the record, an entry of order

 of dismissal is appropriate.

         Accordingly, it is hereby ORDERED, ADJUDGED, AND DECREED that this entire

 action, and all of the claims asserted therein, be DISMISSED WITHOUT PREJUDICE. Each

 party shall bear its own costs.

         All relief not previously granted is hereby DENIED, and the Clerk is directed to CLOSE

 this civil action.
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           IT IS SO ORDERED.

           SIGNED this 4th day of May, 2021.




                                     ___________________________________
                                     AMOS L. MAZZANT
                                     UNITED STATES DISTRICT JUDGE




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